         Case 7:16-cv-01201-LSC Document 58 Filed 08/27/18 Page 1 of 1                       FILED
                                                                                    2018 Aug-27 PM 01:39
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION


WILLIE HILL, et al.,                         )
                                             )
       Plaintiffs,                           )
 v.                                          )              7:16-cv-01201-LSC
                                             )
EMPLOYEE BENEFITS                            )
ADMINSTRATIVE COMMITTEE                      )
OF MUELLER GROUP, LLC, et al.,               )
                                             )
       Defendants.



                                        ORDER


       For the reasons stated in the Memorandum of Opinion entered

contemporaneously herewith, the motion for summary judgment (doc. 40) filed by

Defendants is granted and the cross motion for summary judgment (doc. 42) filed

by Plaintiffs is denied.

       Costs are taxed to Plaintiffs.

       DONE and ORDERED on August 27, 2018.



                                                  _____________________________
                                                          L. Scott Coogler
                                                     United States District Judge
                                                                                    195126


                                        Page 1 of 1
